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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

CALVIN HARDEN,                                        )
                                                      )
                              Plaintiff,              )
                                                      )
                         v.                           )        No. 1:19-cv-00161-TWP-DLP
                                                      )
THOMAS OPIE, et al.                                   )
                                                      )
                              Defendants.             )

       Entry Directing Development of Exhaustion Defense and Issuing Partial Stay

       The defendant has asserted the affirmative defense that the plaintiff failed to exhaust his

administrative remedies prior to filing this lawsuit as required by the Prison Litigation Reform

Act. This defense must be resolved before reaching the merits of this case. See Pavey v. Conley,

544 F.3d 739, 742 (7th Cir. 2008); Perez v. Wis. Dep’t of Corr., 182 F.3d 532, 536 (7th Cir. 1999).

       The defendant’s exhaustion defense will be resolved pursuant to the following schedule.

The defendant shall have through May 9, 2019, in which to either:

   •   file a dispositive motion in support of the exhaustion defense;

   •   file a notice with the Court specifically identifying the fact issue(s) that preclude resolution

       of this affirmative defense via a dispositive motion and requesting a Pavey hearing; or

   •   file a notice with the Court withdrawing the exhaustion defense.

       The failure to pursue any of these options by the above deadline constitutes an

abandonment of the exhaustion defense.

       If a dispositive motion is filed, the plaintiff shall have twenty-eight (28) days in which to

respond. The defendants shall then have fourteen (14) days in which to reply. Furthermore, if the

defendants file a dispositive motion, he must remember that it is their burden to prove both that
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the administrative remedy process was available to the plaintiff and that he or she failed to utilize

it. See Thomas v. Reese, 787 F.3d 845, 848 (7th Cir. 2015); Kaba v. Stepp, 458 F.3d 678, 686 (7th

Cir. 2006). Thus, if the plaintiff responds with evidence that the administrative remedy process

was unavailable, the defendant may and should consider whether selecting one of the other two

options outlined above is the appropriate course—that is, conceding that a Pavey hearing is

necessary or withdrawing their affirmative defense. Alternatively, the defendant’s reply must

directly confront the plaintiff’s evidence regarding availability and explain why they remain

entitled to summary judgment despite that evidence. Failure to present responsive evidence in

reply will result in a forfeiture of any right to present that evidence if there is a future Pavey

hearing.

       Except for activities associated with the development and resolution of the defendant’s

affirmative defense that the plaintiff failed to exhaust his administrative remedies prior to filing

this action, or any other matter directed by the Court, any other activities or deadlines in the action

are stayed. Discovery on the issue of exhaustion is allowed.

       IT IS SO ORDERED.

       Date:    3/27/2019
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